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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

JAMES B. WILSON,

         Plaintiff,

v.                                                             Case No.:

PINELLAS COUNTY, a political
subdivision of the State of Florida,

      Defendant.
____________________________________/

                                       NOTICE OF REMOVAL

         COMES NOW, Defendant PINELLAS COUNTY, through undersigned counsel, and

pursuant to 28 U.S.C.S. §1441 hereby removes Case No. 19-008253-CI from the Circuit Court of

the Sixth Judicial Circuit in and for Pinellas County, Florida (“the State Court Action”) to the

United States District Court for the Middle District of Florida, and as grounds for its removal states

as follows:

      1. On December 16, 2019, Plaintiff James B. Wilson filed the State Court Action against

         Pinellas County.

      2. On January 16, 2020, Pinellas County received a copy of the complaint, summons

         addressed to Pinellas County, and civil cover sheet. Removal of this matter is timely under

         28 U.S.C.S. §1446(b).

      3. Pursuant to 28 U.S.C.S §1446(a), true and correct copies of the complaint, summons, and

         civil cover sheet are attached hereto as Exhibits 1, 2, and 3, respectively. No other process,

         pleadings, orders, or papers have been received by Pinellas County in this action. A copy

         of the docket in the State Court Action is attached hereto as Exhibit 4.



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   4. Venue is proper in this Court, pursuant to 28 U.S.C.S. §§ 1441(a) and 1446(a), because the

       United States District Court for the Middle District of Florida is the federal judicial district

       embracing the Circuit Court for Pinellas County, Florida, where the State Court Action was

       originally filed.

   5. In the State Court Action, Plaintiff is alleging violations of the Fair Labor Standards Act,

       29 U.S.C.S. §201 et seq. by Pinellas County.

   6. The Notice of Removal is filed pursuant to 28 U.S.C.S. §1441 because the Plaintiff’s

       claims involve a determination under 28 U.S.C.S. §1331.

   WHEREFORE, Pinellas County hereby gives notice that this action now pending in the

Circuit Court of the Sixth Judicial District in and for Pinellas County, Florida is removed to the

United States District Court for the Middle District of Florida, Tampa Division.

   Respectfully submitted this 17th day of January, 2020.


                                                       /s/ Ashley N. Donnell, Esq.
                                                       Ashley N. Donnell, Esq.
                                                       Florida Bar No. 100535
                                                       Pinellas County Attorney’s Office
                                                       315 Court Street, Sixth Floor
                                                       Clearwater, FL 33756
                                                       T: (727) 464-3354 // F: (727) 464-4147
                                                       adonnell@pinellasounty.org




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                              CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished

by E-Mail to: Robert R. Warchola, Esq., Attorney for Plaintiff, at rwarchola@shumaker.com,

this 17th day of January, 2020.

                                                       /s/ Ashley N. Donnell, Esq.
                                                       Ashley N. Donnell, Esq.
                                                       Florida Bar No. 100535
                                                       Assistant County Attorney
                                                       Pinellas County Attorney's Office
                                                       315 Court Street, Sixth Floor
                                                       Clearwater, FL 33756
                                                       Phone: (727) 464-3354
                                                       Fax: (727) 464-4147
                                                       adonnell@pinellascounty.org
                                                       Counsel for Pinellas County




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